           Case 2:23-bk-10990-SK Doc 13 Filed 02/26/23                                            Entered 02/26/23 21:19:46                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 2
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 23-10990-SK
Leslie Klein                                                                                                           Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Feb 24, 2023                                               Form ID: ccdn                                                              Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 26, 2023:
Recip ID                 Recipient Name and Address
db                     + Leslie Klein, 322 N. June Street, Los Angeles, CA 90004-1042

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 26, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 22, 2023 at the address(es) listed
below:
Name                               Email Address
Michael Jay Berger
                                   on behalf of Debtor Leslie Klein michael.berger@bankruptcypower.com
                                   yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com

United States Trustee (LA)
                                   ustpregion16.la.ecf@usdoj.gov


TOTAL: 2
         Case 2:23-bk-10990-SK Doc 13 Filed 02/26/23                                     Entered 02/26/23 21:19:46                    Desc
                             Imaged Certificate of Notice                                Page 2 of 2
                                        United States Bankruptcy Court
                                         Central District of California
In re:                                                            CHAPTER NO.:   11
Leslie Klein
                                                                  CASE NO.:   2:23−bk−10990−SK

                               CASE COMMENCEMENT DEFICIENCY NOTICE
To Debtor and Debtor's Attorney of Record,
YOUR CASE MAY BE DISMISSED IF YOU FAIL TO CURE THE FOLLOWING DEFICIENCIES:

A. You must cure the following within 14 days from filing of your petition:

  Declaration by Debtor(s) as to Whether Income was Received From an Employer within 60 Days of the Petition Date [11 U.S.C. §
521(a)(1)(B)(iv)] (LBR Form F1002−1)
B. If you are a Small Business Debtor under a Subchapter V in a Chapter 11 case, within 7 days after the date of the filing of the
petition, you must file the most recent:
1.   Balance sheet
2.   Statement of operations
3.   Cash−flow statement
4.   Federal tax return
OR
5. Statement made under penalty of perjury that no balance sheet, statement of operations, or cash−flow statement has been
prepared and no Federal tax return has been filed. [11 U.S.C.§1116]

The Revised Official Bankruptcy Forms are mandatory and are available at www.cacb.uscourts.gov/forms




For all items above that are not electronically filed, you must file the original and the following number of copies in accordance
with Local Bankruptcy Rules 1002−1(c) and 5005−2, and Court Manual, section 2.5(a)(2).

                Chapter 11      Original and 2 Copies. 1 copy marked as "Judge's Copy."

Please return the original or copy of this form with all required items to the following location:

                 255 E. Temple Street, Room 100, Los Angeles, CA 90012
If you have any questions, please contact the Court's Call Center at the toll free number (855) 460−9641.




Dated: February 22, 2023                                                      For the Court
                                                                              Kathleen J. Campbell
                                                                              Clerk of Court
(Form ccdn − Rev 02/2020)                                                                                                        1/
